Case 1:25-cv-20633-RAR Document 6 Entered on FLSD Docket 02/14/2025 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 25-CV-20633-RAR

 TICK CORPORATION,

        Plaintiff,

 v.

 THE INDIVIDUALS, PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS IDENTIFIED
 ON SCHEDULE “A”,

       Defendants.
 _________________________________________________/

 ORDER GRANTING PLAINTIFF TICK CORPORATION’S MOTION FOR LEAVE TO
     PROCEED UNDER PSEUDONYM AND MOTION TO FILE UNDER SEAL

        THIS CAUSE comes before the Court upon Plaintiff’s Ex Parte Motion for Leave to

 Proceed Under Pseudonym Temporarily (“Pseudonym Motion”), [ECF No. 4], and Motion for

 Leave to File Under Seal Certain Documents Containing Identifying Information about the

 Defendants (“Seal Motion”), [ECF No. 5]. The Court having reviewed the Pseudonym Motion,

 the Seal Motion, and the record, and being otherwise fully advised, it is hereby

        ORDERED AND ADJUDGED that the Pseudonym Motion and the Seal Motion are

 GRANTED as follows.

        Plaintiff has filed the Complaint, [ECF No. 1], in the instant case alleging federal trademark

 counterfeiting and infringement, false designation of origin, common law unfair competition, and

 common law trademark infringement by certain internet-based e-commerce stores that promote,

 manufacture, import, sell, offer for sale and distribute goods bearing or using counterfeits and

 infringements of Plaintiff’s intellectual property. In the Pseudonym Motion, Plaintiff notes that a

 number of Chinese websites like www.sellerdefense.cn, www.worldtro.com, www.amz123.com,

                                             Page 1 of 5
Case 1:25-cv-20633-RAR Document 6 Entered on FLSD Docket 02/14/2025 Page 2 of 5




 www.away-sp.com, and www.maijiazhichi.com, closely monitor counterfeiting and intellectual

 property infringement lawsuits such as this one in order to warn infringers to quickly drain their

 marketplace accounts, clean out their money transfer accounts, change their usernames, and hide

 their identities to avoid being caught. Pseudonym Motion at 3.

        Plaintiff states that it has been previously targeted by such websites, and Plaintiff’s counsel

 has cases that are among those flagged by counterfeiters and infringers. Pseudonym Motion at 6–

 8; Seal Motion ¶ 5. Plaintiff provides a number of examples of the coordinated efforts between

 counterfeiters and infringers to evade detection and avoid prosecution for their illicit conduct.

 Pseudonym Motion at 2–15.

        Plaintiff therefore argues that it should be permitted to proceed under a pseudonym in this

 lawsuit until Defendants’ Internet stores and financial accounts are restrained pursuant to the above

 referenced pleadings and Motions. Plaintiff maintains that, based on counsel’s experience in cases

 with similar facts, Defendants who knew of other plaintiffs’ true identities evaded prosecution by

 blocking access to their websites in the United States, closing their online stores and opening new

 stores under different identities, and transferring assets into different financial accounts.

 Psuedonym Motion at 2–15; Seal Motion ¶ 7. Plaintiff also seeks to file documents under seal

 until the Court has the opportunity to rule on Plaintiff’s request for temporary ex parte relief and,

 if granted, the relief ordered therein has been effectuated. Seal Motion ¶ 9. At that time, Plaintiff

 will move to unseal all pleadings and orders filed under seal in this matter to ensure they are

 publicly available on the docket. Id.

        Pursuant to Local Rule 5.4(b) and (d), this Court may grant leave to file documents under

 seal and by ex parte request where the moving party sets forth the factual and legal basis for

 departing from the policy that Court filings are public; describes the information or documents to



                                             Page 2 of 5
Case 1:25-cv-20633-RAR Document 6 Entered on FLSD Docket 02/14/2025 Page 3 of 5




 be sealed (the “proposed sealed material”) with particularity; and specifies the proposed duration

 of the requested sealing. The public generally has a right of access to judicial records, but the right

 to access can be overcome by a showing of good cause, which “balances the asserted right of

 access against the other party’s interest in keeping the information confidential.” Chicago Tribune

 Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1309 (11th Cir. 2001).

        Furthermore, while not expressly permitted under Federal Rule of Civil Procedure 10(a),

 in exceptional cases courts have allowed a party to proceed anonymously. Doe v. Megless, 654

 F.3d 404, 408-09 (3d Cir. 2011). The Eleventh Circuit has held that Rule 10(a) “protects the

 public’s legitimate interest in knowing all the facts involved, including the identity of the parties”

 but the rule is not absolute, and a party may proceed under a pseudonym only in exceptional cases.

 Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011). However, under certain special

 circumstances, parties are allowed to use fictitious names. Id. at 1320.

        The Eleventh Circuit has established a totality-of-the-circumstances test to determine

 whether a plaintiff may proceed anonymously. Id. at 1315.            The plaintiff must establish “a

 substantial privacy right [that] outweighs the customary and constitutionally-embedded

 presumption of openness in judicial proceedings.” Id. at 1315–16. The court “should carefully

 review all the circumstances of a given case and then decide whether the customary practice of

 disclosing the plaintiff’s identity should yield to the plaintiff’s privacy concerns.”    Id. at 1316.

 The first step is three prongs: whether the plaintiff “(1) is challenging government activity; (2)

 would be compelled, absent anonymity, to disclose information of utmost intimacy; or (3) would

 be compelled, absent anonymity, to admit an intent to engage in illegal conduct and thus risk

 criminal prosecution.”    Id. Two other factors to consider include whether the plaintiff “faces a




                                              Page 3 of 5
Case 1:25-cv-20633-RAR Document 6 Entered on FLSD Docket 02/14/2025 Page 4 of 5




 real threat of physical harm absent anonymity” and whether the plaintiff’s “requested anonymity

 poses a unique threat of fundamental unfairness to the defendant.” Id.

          Here, regarding the first step, none of the three prongs apply. This suit does not involve

 government activity or Plaintiff’s illegal conduct. Nor can it be said that Plaintiff’s disclosure of

 its real name in this patent suit constitutes “information of utmost intimacy,” which generally

 involves issues of birth control, abortion, homosexuality, welfare rights of illegitimate children or

 abandoned families, personal religious beliefs, and some cases of explicit sexual conduct. See

 Plaintiff B, 631 F.3d at 1316–17; S. Methodist Univ. Ass’n of Women Law Students v. Wynne &

 Jaffe, 599 F.2d 707, 712–13 (5th Cir. 1979). It is also undisputed that Plaintiff faces no threat of

 physical harm absent anonymity.

          The last express factor is whether anonymity results in a “unique threat of fundamental

 unfairness” to Defendants.    See In re: Chiquita Brands Int’l, Inc., 965 F.3d 1238, 1247 (11th Cir.

 2020).     For example, “the mere filing of a civil action against other private parties may cause

 damage to their good names and reputation and may also result in economic harm.” S. Methodist

 Univ. Ass’n, 599 F.2d at 713. In this case, the Court finds that there is no threat of fundamental

 unfairness to Defendants in allowing Plaintiff to temporarily proceed under a pseudonym. To the

 contrary, it is Plaintiff that potentially suffers economic harm and damage to its reputation by

 allowing Defendants—whose personal identities are essentially unknown—to become aware of

 Plaintiff’s identity early enough to allow them to destroy online evidence or evade suit.

          If Defendants discover Plaintiff’s identity, they will act in concert to thwart enforcement

 of Plaintiff’s intellectual property rights. Plaintiff requests to temporarily proceed under a

 pseudonym in this action until Defendants’ e-commerce stores and financial accounts are

 restrained. These assertions are based on Plaintiff information shared on Chinese chats and



                                             Page 4 of 5
Case 1:25-cv-20633-RAR Document 6 Entered on FLSD Docket 02/14/2025 Page 5 of 5




 websites such as SellerDefense dealing exclusively with violations of intellectual property,

 including in this very District. Lastly, Plaintiff requests entry of an Order directing the Clerk of

 Court to seal certain documents.

        Thus, based on the foregoing, it is hereby ORDERED AND ADJUDGED as follows:

        1.      Plaintiff’s Pseudonym Motion, [ECF No. 4], is GRANTED.

        2.      Plaintiff is permitted to temporarily proceed under a pseudonym. Plaintiff shall

 reveal its actual name and shall move to unseal all sealed documents once Defendants have been

 served with the temporary restraining order, if granted, and once Plaintiff has obtained

 confirmation from third party payment processors and online marketplaces that Defendants’ assets

 have been restrained and online stores suspended.

        3.      Plaintiff’s Seal Motion, [ECF No. 5], is GRANTED.

        4.      The Clerk of Court is DIRECTED to seal, upon filing, the following documents,

 which shall remain under seal until further order of the Court:

                (i)     Unredacted Complaint and supporting exhibits;

                (ii)    Schedule “A” to the Complaint; and

                (iii)   Plaintiff’s Ex Parte Application for Entry of Temporary Restraining Order.

        DONE AND ORDERED in Miami, Florida, this 14th day of February, 2025.



                                                       _________________________________
                                                       RODOLFO A. RUIZ II
                                                       UNITED STATES DISTRICT JUDGE




                                             Page 5 of 5
